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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:13-CR-3130

vs.
                                                          ORDER
RAMON GARCIA,

                 Defendant.

      The Court previously denied the defendant's "Motion to Remove
Restriction from Sentencing Transcripts in Order for Defendant to Perfect
His Title 28 U.S.C. §2255" (filing 456). Filing 478. The defendant has moved
the Court to reconsider that ruling. Filing 484.
      The Court agrees with the government, see filing 477, that the
defendant's sentencing transcript was restricted for good cause, and should
remain restricted. But the defendant must be afforded an adequate
opportunity to access procedures for review of his conviction. See United
States v. MacCollom, 426 U.S. 317, 325-28 (1976). And one relevant
consideration, when evaluating the scope of a restriction, is whether
redaction could reduce or eliminate the need for restriction. See NECrimR
49.1.1(b)(1).
      Accordingly, the Court will grant the defendant's motion to reconsider,
and will ask the government to either file a redacted copy of the defendant's
sentencing transcript, or show cause why the transcript cannot be redacted to
eliminate the need for restriction.

      IT IS ORDERED:

      1.   The defendant's motion to reconsider (filing 484) is granted.

      2.   On or before February 18, 2016, the government shall
           either (1) file a redacted copy of the defendant's sentencing
           transcript or (2) show cause why the transcript cannot be
           redacted so as to eliminate the need for restriction.

      3.   The Clerk of the Court shall set a case management
           deadline of February 19, 2016, with the following docket
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           text: "Check for redacted transcript or cause shown for
           restriction."

      Dated this 19th day of January, 2016.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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